      (For syllabus, see Thielbar Realties, Inc., v. National Union Fire Insurance Co., ante, p. 525.)
The Netherlands Insurance Company, a corporation, has appealed from a judgment in favor of the Thielbar Realties, Inc., in an action to reform and enforce a policy of fire insurance.
The facts are similar to, and the questions presented identical with, those appearing in Thielbar Realties, Inc., v.National Union Fire Ins. Co., ante, p. 525, 9 P.2d 469, this day decided, and on the authority of that decision the judgment must be affirmed.
Judgment affirmed.
MR. CHIEF JUSTICE CALLAWAY and ASSOCIATE JUSTICES GALEN, FORD and ANGSTMAN concur. *Page 538 